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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

                                   Case No: 20-cr-00249-RS-1
                                   Case Name: USAv. Andrade

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                         GOVERNMENT ATTORNEYS:                DEFENSE ATTORNEYS:
Richard Seeborg                David Ward, Christiaan Highsmith,    Michael Shepard, Kerrie Dent,
                               Matthew Chou                         Cindy Diamond, Dainec Stefan
TRIAL DATE:                    REPORTER(S):                         CLERK:
2/19/2025                      Ana Dub                              Corinne Lew

PLF    DEF DATE/TIME
NO.    NO. OFFERED   ID REC                   DESCRIPTION                                      BY
           2/19/2025
            8:05 – 8:12                       Court convened. All parties present discussing
            am                                matters outside the presence of the jury.
            8:33 am                           Court reconvened.
                                              Jury Present.
            8:33 am                           Government calls witness David Salmon. Direct
                                              by C. Highsmith.
1223        8:35 am        X   X              Chase Bank – David Salmon Sign Card.
1224        8:38 am        X   X              Chase Bank – David Salmon Statement
            8:50 am                           Cross of witness D. Salmon by C. Diamond.
       3188 8:51 am        X   X              Secretary of State
       3161 8:55 am        X   X              Email from D. Salmon dated 2/1/2018.
            8:59 am                           Witness D. Salmon excused.
            9:00 am                          Government calls witness Melissa Foteh. Direct
                                             by D.Ward.
1427        9:08 am        X   X             Transcript of Foteh’s November 21, 2019 grand
Pg.                            Conditionally jury testimony.
20                             Admitted
line
1-9
1427        9:12 am        X   X             Transcript of Foteh’s November 21, 2019 grand
Pg.                            Conditionally jury testimony.
28                             Admitted
Line
2-8
1427        9:32 am        X   X             Transcript of Foteh’s November 21, 2019 grand
Pg.                            Conditionally jury testimony.
21                             Admitted
Line
17-
24

                                                1
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                                Case No: 20-cr-00249-RS-1
                               Case Name: USA v. Andrade
                                 Date: February 19, 2025
       Courtroom Deputy: Corinne Lew         - Court Reporter:   Ana Dub

                  EXHIBIT and WITNESS LIST CONTINUED
PLF DEF DATE/TIME
NO. NO. OFFERED   ID REC           DESCRIPTION                                             BY
1427    9:33 am   X X              Transcript of Foteh’s November 21, 2019 grand
Pg.                  Conditionally jury testimony.
22                   Admitted
Line
2-
25
1427    9:34 am   X X              Transcript of Foteh’s November 21, 2019 grand
Pg.                  Conditionally jury testimony.
23                   Admitted
Line
1-24
        9:35 am                    Break
           9:52 am                         Court reconvened.
                                           Jury Present.
           9:52 am                         Cross of witness M. Foteh by M. Shepard.
           9:54 am                         Witness M. Foteh excused.
           9:54 am                         Government calls witness Carlos De La
                                           Guardia. Direct by C. Highsmith.
1510       10:07 am     X    X             Whatsapp text
880        10:10 am     X    X             Whatsapp message from Abramoff’s seized
                                           phone.
881        10:19 am     X    X             Whatsapp message from Abramoff’s seized
                                           phone.
1156       10:24 am     X    X             FBI screenshot of online content thru May 27,
                                           2018.
884        10:33 am     X    X             Whatsapp message from Abramoff’s seized
                                           phone.
885        10:37 am     X    X             Whatsapp message from Abramoff’s seized
                                           phone.
1513       10:49 am     X    X             Email from De La Guardia to Abramoff, and
                                           Abramoff to Andrade.
891        10:53 am     X    X             Whatsapp message from Abramoff’s seized
                                           phone.
1457       10:56 am     X    X             Published press release.
8          10:59 am     X    X             De La Guardia email to Abramoff and
                                           Andrade.
10         11:05 am     X    X             Email from C. De La Guardia dated
                                           11/10/2017.
893        11:08 am     X    X             Whatsapp message from Abramoff’s seized
                                           phone.

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                                  Case No: 20-cr-00249-RS-1
                                 Case Name: USA v. Andrade
                                   Date: February 19, 2025
      Courtroom Deputy: Corinne Lew         - Court Reporter:     Ana Dub

                             EXHIBIT and WITNESS LIST CONTINUED

PLF DEF DATE/TIME
NO. NO. OFFERED               ID   REC     DESCRIPTION                                         BY
1514    11:10 am              X    X       Email from C. De La Guardia dated 11/19/2017.
             11:14 am                      Break
             11:15 – 11:16                 Court and counsel present discussing matters
             am                            outside of the presence of the jury.
             11:29 am                      Court reconvened.
                                           Jury Present.
             11:29 am                      Resume direct of witness C. De La Guardia by C.
                                           Highsmith.
             11:41 am                      Cross of witness C. De La Guardia by M.
                                           Shepard.
      2599 12:07 pm           X    X       R. Namier thanks Morgan Eduardo of MM for his
                                           time and provides NDA.
             12:30 pm                      Break
             12:43 pm                      Court reconvened.
                                           Jury Present.
             12:47 pm                      Re direct of witness C. De La Guardia by C.
                                           Highsmith.
             12:50 pm                      Witness C. De La Guardia excused.
             12:51 pm                      Government calls witness Evan Carlsen. Direct by
                                           C. Highsmith.
91           12:59 pm         X    X       Email from E. Carlsen.
92           12:59 pm         X    X       AML BitCoin Prop. Presentation
162          1:15 pm          X    X       Email from E. Carlsen to M. Andrade dated
                                           11/16/2018.
             1:21 pm                       Cross of E. Carlsen by M. Shepard.
             1:30 pm                       Jury excused for the day – return on 2/20/2025 at
                                           8:30 am. Counsel to appear at 8:00 am.
             1:33 pm                       Court and counsel present discussing matters
                                           outside the presence of the jury.
             1:33 pm                       Court in recess.




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